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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION



NETWORK TALLAHASSEE, INC., etc.,

               Plaintiff,

v.                                                     CASE NO. 4:10cv38-RH/WCS

EMBARQ CORPORATION et al.,

               Defendants.

_____________________________________/


     ORDER DENYING THE MOTIONS TO STRIKE THE JURY DEMAND


         The plaintiff has demanded a trial by jury “on all issues so triable.” Am.

Compl. (document 19) at 44; Compl. (document 1) at 22. The defendants have

moved to strike the jury demand on the ground that the plaintiff contractually

waived any right to a jury trial.

         For two reasons, the case may be tried to a jury. First, the case as ultimately

presented may include issues on which a party has a jury right that has not been

waived. Second, I may elect to empanel an advisory jury, even if there is no jury

right.

         The jury demand puts the defendants on notice that the plaintiff seeks a jury
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trial “on all issues so triable.” The demand will not be struck.

         For these reasons,

         IT IS ORDERED:

         The defendants’ motions (documents 39, 40, 46, 47, and 60) to strike the

plaintiff’s jury demand are DENIED without prejudice.

         SO ORDERED on May 25, 2010.

                                               s/Robert L. Hinkle
                                               United States District Judge




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